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                          UNITED STATES DISTRICT COURT
 8
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
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10   GHEORGE BLEDEA and
     ELISABETA BLEDEA,
11
                                             NO. CIV. S-09-1239 LKK/GGH
12             Plaintiffs,

13        v.
                                                      O R D E R
14   INDYMAC FEDERAL BANK,
     MORTGAGEIT, INC., MARIPOSA
15   MORTGAGE, INC., MORTGAGE
     ELECTRONIC REGISTRATION
16   SYSTEM, INC., MARIO BURNIAS,
     JOSE LUIS CALLEJA, BIC D.
17   PHO and DOES 1-20, inclusive,

18             Defendants.

19                                   /

20        On April 30, 2010, the court filed an order noting that

21   because plaintiffs’ operative complaint contained no federal causes

22   of action, it appeared that the court should decline to exercise

23   supplemental jurisdiction over the remaining state law claims. The

24   court granted the parties fourteen (14) days to file briefing as

25   to why this court should retain suit, and explained that “If no

26   such brief is filed, the court will dismiss this suit without

                                         1
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 1   prejudice for lack of subject matter jurisdiction.”

 2        This period expired on May 14, 2010.             Plaintiffs filed a

 3   statement indicating their non-opposition to dismissal for lack of

 4   subject   matter    jurisdiction.       No   other   response   was   filed.

 5   Accordingly, this case is DISMISSED for lack of subject matter

 6   jurisdiction.      The clerk of the court is directed to CLOSE this

 7   case.

 8        IT IS SO ORDERED.

 9        DATED:   June 4, 2010.

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